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                                              #:5535


                      PORTER            ~   5 C O T T

                2     A PROFESSIONAL CORPORATION
                      Martin N. Jensen,(SBN 232231)
                3     ml ensen(a~porterscott.com
                4 Jeffrey A. Nordlander,(SBN 308929)
                  jnordlander(a~porterscott.com
                5
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                6 Sacramento, California 95825
                7 Tel:
                       916.929.1481
                  Fax: 916.927.3706
                8
                9 Attorneys for Defendants
                10
                                       UNITED STATES DISTRICT COURT
                11            CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
                12
  0
  0            HIGHMARK DIGITAL, INC., a                CASE NO.2:18-cv-06105-SJO-AS
  N
  ~~        13 California corporation,
H ~~~
H ~~~o
o ~~~ M 14                                                  DEFENDANTS' STATEMENT OF
' ~ ¢~~
v ;vo                       Plaintiff,                      ADDITIONAL MATERIAL FACTS
        0
~ ¢ o ~o ~c 15                                              IN OPPOSITION TO HIGHMARK
w ~~o,o~       v.
                16                                          DIGITAL, INC.'S MOTION FOR
O..?
rs c     wd
       ~ F" w
  ~~                  CASABLANCA DESIGN CENTERS, SUMMARY JUDGMENT
  0             17
  M                   INC., a California corporation; FOUR
                10    SEASONS WINDOWS, INC., a Date:                   February 18, 2020
                19    California corporation; INTERIOR Time:           10:00 a.m.
                      DOOR &CLOSET COMPANY, an Judge:                  S. James Otero
                20    unincorporated California company; Location: Courtroom lOC
                21    ONE DAY DOORS AND CLOSETS,
                      INC., a California corporation; DAVID Hon. S. James Otero
                22
                      WINTER, an individual; and ONE Magistrate Judge Alka Sagar
                23    DAY      ENTERPRISES, LLC, a
                24    Delaware company,                     Trial Date: 6/9/20

                25                      Defendants.
                2~~
                27
                      {o2~aoosi.Docx}                   1
                28        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                          FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                             SUMMARY JUDGMENT
             Case 2:18-cv-06105-SJO-AS Document 163-2 Filed 01/28/20 Page 2 of 46 Page ID
                                               #:5536


                                      STATEMENT OF ADDITIONAL MATERIAL FACTS

                                                         Background
                 3
                       ADDITIONAL MATERIAL FACTS                           PLAINTIFF'S RESPONSE
                 4
                        AND SUPPORTING EVIDENCE
                 5
                 6     144.       Under the Master Agreement,         Evidence: Krzeminski Decl., Ex. 44;
                                  Four      Seasons   uploaded        Jensen Decl., Ex. F at 23:7 — 23:17,
                 7                Proliner       door    frame        28:9 — 30:2; Jensen Decl., Ex. C at
                  g               measurement data to Plaintiff       83:22 — 85:4.
                                  over the Internet.
                 9
                 10    145.       The Proliner is an electronic Evidence: Jensen Decl., Ex. F at 28:9 —
                 11               measuring                device 29:3, 44:10 — 45:3; Jensen Decl., Ex. C
                                  manufactured by Prodim that at 83:22 — 85:4.
                 12               Four Seasons used to capture
  0
  0
   N~ ~          13               the dimensions of door frames
 '~ N
      v'~ 00 O
E-~ ~ °O                          in existing structures so that a
o ~~~M 14
~ ~ Q ~;~                         custom fit replacement door
~ Q o~~
~'~   Q~ O1 IS                    could be cut.
w ~~~,~
o _~ ~ ~w 16
                       146.      Plaintiff   used    software         Evidence: Krzeminski Decl., Ex. 3 at
   o~            17              originally developed by a            1340 — 1341, Jensen Decl., Ex. A at
   M

                 18              company called MetaWorks,            35:22 — 36:9, 44:23 — 45:17; 69:6 —
                                 LLC to convert Proliner              70:19; Jensen Decl., Ex. G at 11:19 —
                 19
                                 measurement data into an             16:9.
                 20              eXtensible markup language
                                ("XML")output ("MetaWorks
                 21
                                 Software").
                 22
                 23    147.      Plaintiff   used    software         Evidence: Jensen Decl., Ex. G at 18:25
                                 supplied by CadCode Systems          — 21:12; Jensen Decl., Ex. H at 145:25 —
                 24              ("CadCode")to translate XML          147:15; Jensen Decl., Ex. A at 72:9 —
                 25              output into files written in         81:21.
                                 HOP("CadCode Software").
                 26
                 27
                       iaooai.Docx}                               2
                 ~:~    DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                        FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                   ADDITIONAL MATERIAL FACTS                           PLAINTIFF'S RESPONSE
             l
                    AND SUPPORTING EVIDENCE

                     148.       A CadCode file library Evidence: Jensen Decl., Ex. H at 154:2
                               translated non CNC machine — 21; Jensen Decl., Ex. G at 19:8 — 10;
                                specific data (e.g., Plaintiffs 24:16 — 22; Winter Decl., ¶ 22 — 23.
                                XML) into files readable by
             ~~                 CNC machines produced by
                                different CNC manufacturers
                               (e.g., HOP in the case of
             8                  Holz-Her).
             9
                    149.        A HOP file is the instruction Evidence: Jensen Decl., Ex. G at 18:25
             ~o                 to the CNC machine to cut — 19:7.
             ~1                 the door.

             ~?     150.        Holz-Her GmbH ("Holzer-           Evidence: Declaration of Don Vilfer
 S                                                                ("Vilfer"), ¶ 7; Jensen Decl., Ex. G at
 N
      ~,     13                 Her") CNC machines are
                                programmed        to    receive    18:25 — 19:7; Jensen Decl., Ex. B at
~ ~°`~M 14
O ~~~~                                                             129:13 — 18; Jensen Decl.; Ex. O.
      Q ~~                      cutting instructions in HOP.
~~ U~a
~ ¢ o~o~ IS
w ~~~,~.
~ ~~ ~w~ 16
                     I 51.          In or around October 2011, Evidence: Glenn Johnson Decl., ¶ 5,
a '~ ~~~.                           Casablanca entered into an Ex. A.
  a ~'
  0       17                        agreement with Prodim to use
  M

             18                     Prodim software to convert
                                    Proliner measurement data
             19                     into    cutting  instructions
             ?0                     written in HOP.
             21
                     1 52.          In 2013, Casablanca paid to Evidence: Jensen Decl., Ex. L at
             22                     upgrade the Prodim software Response No. 1.
             23                     it licenses.

             24
                     1 53.          Casablanca has manufactured Evidence: Vilfer Decl., ¶ 8 — 11.
             25                     doors using Prodim software
             ~~                     since November 2011.

             ~~
                  {02140081.DOCX}                                 3
             ~g
                      DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                      FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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              i
                                      Winter Breach of Fiduciar~~ Dutv and Breach of Contract
              3
                      154.        Dave Winter ("Winter") and Evidence: Jensen Decl., Ex. A at
                                  his father-in-law, Michael 154:15 — 24.61:11-18; Winter Decl., ¶
              5                   McElroy          ("McElroy"), 2.
                                  founded Plaintiff in 2007.

                       1 55.      Prior to his departure, Winter's Evidence: Jensen Decl., Ex. B at 10:1 —
                                  relationship with HighMark 11:21, 86:22 — 87:10.
              ~~                  had become strained.

             i c~      1 56.          McElroy was not actively Evidence: Jensen Decl., Ex. A at
             it                       involved in the business and a 145:15 — 24; Jensen Decl. Ex. I at 9:17
                                      new Chief Executive Officer, — 10:10.
             ~?                       Richard Matulia ("Matulia"),
 0
 N
  ~ ~        IJ                       had been hired.
o~
~  °~~ 14
  ~°`~M
U ~ ¢a;~               157.           Winter     was not being Evidence: Jensen Decl., Ex. B at 10:1 —
~~ U~a
~ ¢ o~o~ 15                           compensated by Plaintiff as 11:21: Winter Decl., ¶ 12, Ex. F.
w ~~~,o,
o .~ ~W~ 16
                                      agreed to between the parties.
a ~ ~ t-~w
  o~         17        158.       Winter came across a May 28, Evidence: Jensen Decl., Ex. B at l 0:1 —
  M

             18                   2015, e-mail correspondence 11:21; Winter Decl.,¶ 5, Ex. A.
                                  from Matulia to the Board of
             19
                                  Directors in which Matulia
             ?o                   stated, as to Winter, that
             21
                                  "franchises hate him," "the
                                  results warrant corrective
             22                   action," "What exactly is the
             23                   right position/responsibility?
                                  Are we stuck?" and "For the
             24
                                  right things to happen, we
             25                   need the right people, not
                                  anchors."
             26

             27
                    {0214008t.nocx}                                 4
             ~g
                        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                        FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                1     159.        Jonathan Morgan, one of Evidence: Jensen Decl., Ex. B at 10:1 —
                                  Plaintiff's Board of Directors, 11:21; Winter Decl.,¶ 5, Ex. A.
                                  responded that "No, I don't
               3                  think you've said anything out
                                  of line. We need to know
               4
                                  what you really think. You
               5                  live it everyday" and "I think
               6                  we can all agree that drastic
                                  action is necessary and you're
                                  the guy the board has chosen
               8                  to do the job."
               9
                       160.           Although Winter was on the Evidence: Winter Decl., ¶ 5, Ex. A.
               to                     Board of Directors at the time,
               Il
                                      Matulia did not include Winter
                                      in his communication to the
               12                     Board of Directors.
  0
  0
  N ~,
   ~ N
               13
                                      Winter perceived that due to Evidence: Jensen Decl., Ex. B at 10:1 —
  `
F.+i% °
F     v°~000           161.
o ~~~'M 14
V] ~j ¢ N N
                                      the efforts of Matulia, the 11:21, 86:22 — 87:10.
~~ ~ V ~ ~
     o~~ 15                           HighMark Board of Directors
w ~~~,~
                                      view of him could not be
o .~ ~ ~w 16
                                      changed.
  ~~
  0            17
  M

               18      162.           Winter       also      became Evidence: Jensen Decl., Ex. B at 10:1
                                      disenchanted with the business 1 1:21.
               19
                                      practices of HighMark, which
               20                     he believed included the non-
               21
                                      payment of vendors.

               ~2      163.           All of these factors led Mr. Evidence: Jensen Decl., Ex. B at 10:1 —
               23                     Winter to the conclusion that 11:21, 86:22 — 87:10.
                                      he would need to seek
               24
                                      alternative employment.
               25
                       164.           In June of 2015, Winter Evidence: Jensen Decl., Ex. B at
               26
                                      connected via a tele hone call 163:13 — 165:4.
               27
                    {02140081.DOCX}                               5
               2g       DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                        FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                1                 with Dairl and Glenn Johnson
                                  regarding the potential of
                                  future employment.
               3
                       165.       The parties entered into a Evidence: Jensen Decl., Ex. B at
               4
                                  nondisclosure agreement that 165:14 — 166:11.
               5                  Winter viewed as important to
                                  protect his family.

               7       166.           Winter resigned from his Evidence: Jensen Decl., Ex. B at
                                      employment with HighMark 219:15 — 19; Winter Decl., Ex. B.
                                      on July 16, 2015 and his last
               9
                                      day of employment at
               10                     HighMark was on July 17,
               11                     2015.

               12      167.           Prior to resigning from Evidence: Jensen Decl., Ex. B at 46:4 —
  0
  Ny ~         13                     Plaintiff, Winter informed his 46:10, 193:17 — 194:8; Winter Decl.,
F'~~~~o
H ~~~o                                future employers that he did Ex. C.
o ~°~~M 14
C/~ ~j ¢ N N
                                      not want to bring over any
~
—>¢ ~o~~ O LS
      O~ '                            dealers     or   assets from
w ~~~.~
~ ~~ Eat 16                           HighMark or do anything to
a •~ ~Hw                              the detriment of the company.
  ~ `~
  0            17
  M

               18      168.           Winter wanted to be ethical in Evidence: Jensen Decl., Ex. B at 46:4 —
                                      all areas and wanted nothing to 46:10, 193:17 — 194:8; Winter Decl.,
               19
                                      do       with      HighMark's Ex. C.
               20                     technology.
               ?~
                       169.           In 2015, Dairl and Glenn Evidence: Declaration of Glenn
               22                     Johnson did not want to enter Johnson, ¶¶ 9 - 10, Ex. E.
               23                     into any type of partnership or
                                      business relationship with
               24
                                      HighMark.
               25
               26
                       l 70.          Dairl and Glenn Johnson Evidence: Declaration of Glenn
                                      wanted to work with Dave Johnson, ¶ 9 - 10, Ex. E.
               ~~
                    {o2~aoosl.nocx}                                6
               ~g
                        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                        FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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             1                      Winter, not HighMark.

                    171.            Dairl and Glenn Johnson Evidence: Jensen Decl., Ex. C at 164:1
             3                      wanted to work with Winter — 19; 180:5 — 15; 181:9 — 182:4; Jensen
                                    because of his experience in Decl., Ex. B at 199:21 — 208:8.
             4
                                    the industry and that "he's a
             5                      really good guy, and people
                                    like him. And he is honest."

             7       172.       Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. H at 162:3
             s                  Officer,      Joseph     Fallon — 163:16, 181:11-21,191:13 — 193:5,
                               ("Plaintiff's CTO"), admitted 200:2 — 18, 224:3 - 21, 229:1 — 11.
             9
                                that he has no evidence Winter
                                took, disclosed, or used trade
            11                  secret       or     confidential
                                information      belonging    to
            l2                  Plaintiff in any manner.
  0
  N~
  ~    N
            13
H ~v~ooO            173.            Winter intended to return the Evidence: Jensen Decl., Ex. B at 79:16
o ~°~~M 14
                                    Apple laptop upon         his — 20. 88:4-89:18
~~ U~~
~ ¢ o,~~ 15                         resignation.
~ ~~~.~
    ~Hw 16
~ ~~aX
a '~                174.            Right after the end of his Evidence: Jensen Decl., Ex. B at 79:16
  ~~
  0         17                      employment, Winter received — 20. 46:18 — 49:5; Winter Decl., ¶ 6 —
  M

            18                      an email alert that account 8.
                                    information for his personal
            19
                                    Wells Fargo bank account had
            20                      been changed, including the
            21
                                    changing of Winter and his
                                    wife's personal password and
            22                      the removal of Winter and his
            23                      wife's name and contact
                                    information.
            24
            25      175.            Winter never accessed, took or Evidence: Jensen Decl., Ex. B at 33:15
                                    disclosed any trade secret or — 35:20, 51:14 — 53:21, 68:8-69:8, 76:4-
            26
                                    confidential information of 11, 81:16 - 82:10; Winter Decl., Ex. C.
            ?~
                 {o2iaooa t.nocx}                                7
            ~g
                     DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                     FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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             1                   Plaintiff.

                     1 76.      Winter went to the bank and Evidence: Jensen Decl., Ex. B at 46:18
            3                   was informed that his account — 49:5; Winter Decl., Ex. D.
                                information was changed to
            4
                                include Matulia's email address
            5                   along with other HighMark
            6                   email addresses, HighMark
                                phone numbers and the
            7                   physical address for HighMark.

             ~~      177.        Winter believes that his Evidence: Jensen Decl., Ex. B at
                                 personal Facebook page was 167:17 168-7; Winter Decl.,¶ 7-8, Ex.
            ~o                   accessed and account settings E.
            11
                                 including the changing of his
                                 password and the removal of
            12                   his personal email account
 0
 0
  N~ ~      13                   were made by HighMark.
  ~°`~M 14
O ~~~~
~
U ~¢o~~               178.       Winter was not informed by Evidence: Winter Decl., ¶ 7-8, Ex. D-E.
~ a o ~~
~'"°~  °~ IS                     HighMark that changes were
w ~~~,~.
F -~
~ ~~~'X 16
                                 going to be made to the Wells
a 'c ~~`~                        Fargo bank account and the
 ~~
 0          17                   Facebook account prior to
  M

            18                   when such changes were made.
                                 Winter did not consent to
            ~ ~~                 HighMark making changes to
            2v                   the Wells Fargo bank account
                                 and the Facebook page.
            21

            22        179.       In July of 2015 Katherine Evidence: Jensen Decl., Ex. J at 13:24-
            23                   Gabales was an employee of -14:6, 24:5-10.
                                 HighMark.
            24

            25        180.      Gabales was instructed to Evidence: Jensen Decl., Ex. J at 46:11-
                                change credentials for Winter 14, 47:3-6.
            26
                                after he left Hi hMark.
            27
                   {02140081.DOCX}                          8
            ~g
                       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                  181.      After the resignation of Winter, Evidence: Jensen Decl., Ex. J at 48:25-
                            Gabales accessed a Wells Fargo 50:9, 71:4-15.
                            bank account and switched the
           3                credentials to reflect HighMark.
           4
           5       182.      After the resignation of Winter, Evidence: Jensen Decl., Ex. .I at 65:25-
           6                 Gabales accessed a Facebook 66:17, 71:4-15.
                             account and switched the
                             credentials to reflect Highmark.
           H
                   183.      Gabales assumed that the Evidence: Jensen Decl., Ex. J at 71:4-
                             accounts where credentials were 72:24.
          io                 changed      were    HighMark
          11                 accounts and were not personal
                             accounts of Winter.
          12
 0
 0
  Ny ~    13       184.      Winter was advised by Wells Evidence: Jensen Decl., Ex. B at 47:5-
                             Fargo officials in its fraud 17.
  ai °`~M 14
O ~~~~
~
U °dc;~                      department to wipe the hard
~ a o~~ 15                   drive of the Apple computer.
w ~~~,~
      .a ~C
o ,~ ,~  w 16
a a~               185.      Winter, did not want to do so, Evidence: Jensen Decl., Ex. B at 47:5-
   ~
  o'      17                 but ultimately did wipe the hard 17.
  M

          18                 drive of the Apple laptop.
          19
                   186.      Before wiping the hard drive of Evidence: Jensen Decl., Ex. B at 47:5-
          20                 the Apple laptop, Winter backed 17, 81:5-11.
          21
                             up any HighMark files to an
                             external hard drive.
          22
          23       187.      The external electronic storage Evidence: Jensen Decl., Ex. B at 47:5-
                             device provided by Winter 17, 81:5-11, 89:19-90:11, 248:22-
          24
                             contained HighMark files and 249:22.
          25                 there is no suspicion that files
          26
                             were missing.

          27
                {o2taooat.~ocx}                             9
          28        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                    FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                 188.     Prodim uses computer aided Evidence: Declaration of Don Vilfer, ¶
                          manufacturing         software 7 — 10; Jensen Decl., Ex. B at 124:3 —
                          provided by the third-party 128:8.
                          company vectorcam to translate
                          Proliner XML files into cutting
            4
                          instructions for Casablanca's
            5             Holz-Her CNC machine written
            ~~            in HOP.

            7     189.     Vectorcam is installed locally Evidence: Jensen Decl., Ex. B at 124:3
                           at Casablanca and One Day — 128:8.
                           Enterprises' Torrance and
            q
                           Rocklin, California facility,
            10             respectively; Defendants do not
            11
                           access any type of off-site
                           server to generate HOP files.
            12
 0
 0
 N
 ~~         13    190.     Each HOP file stored on Evidence: Declaration of Don Vilfer, ¶
                           Defendants' CNC machine 7 — 10.
o ~~~~ l4
U ~¢~ r                    from November 2011 to the
~~ U~
~ ~ o~o~0 15               present bears the name
w ~~~,~
                           "vectorcam" in its text.
o .~ ~a~ 16
a ~ ~ Hu.
 o~
  ~,        ~~    191.      Casablanca licensed the Prodim Evidence: Glenn Johnson, Ex. A.
  M

            is              software, including vectorcam
                            to generate HOP files, for a
            19
                            one-time fee.
            20
            21   192.      Casablanca can generate infinite Evidence: Glenn Johnson Decl., ¶ 5,
                           HOP files using the vectorcam Ex. A.
            ~2             software linked to their CNC
            23             machines for no additional cost.
            24
                 193.      From January of 2017 to the Evidence: Winter Decl., ¶ 11.
            25             present Winter has been an
                           employee     of  One   Day
            26
                           Ente rises, LLC.
            27
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            ~~
                  DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                            194.      One Day Enterprises, LLC has Evidence: Jensen Decl., Ex. B at
                                      used Prodim software, including 123:17 — 126:1; Jensen Decl., Ex. K.
                                      vectorcam, to       manufacture
                                      doors since its commenced
                    ~                 operations in 2017.

              5             195.      One Day Enterprises never Evidence: Jensen Decl., Ex. B at
               ~~   ~,                accessed the CadCode Software 123:17 —126:1.
                                      to generate HOP files.

                            196.      On     December       2, 2016, Evidence: Jensen Decl., Ex. E at 1187,
                                      Plaintiff's Chief Technology 1239 —1240.
                                      Officer         sent      e-mail
              lU                      correspondence stating that
              11                      Plaintiff was generating more
                                      HOP files than it was producing
              12                      doors because, for a given door,
  0
  Ny ~  13                            Plaintiff regenerates HOP file 3-
H ~~~o
  ~a~~~                               4 times.
H
o ~°~~M 14
 — > V ~
,~ ¢ o ~o ~0 15
 w ~~~,~                    197.     CadCode      responded     that Evidence: Jensen Decl., Ex. E at 1238,
a ~ ~~'~
o,     w 16                          Plaintiffs Chief Technology 1187.
a c ~E-~u¢.
              17
                                     Officer's    statements     are
  ~~
  a
  M                                  "consistent with the logs, so I
              18                     think that question has been
              19                     answered."
              20
                            198.      Plaintiff wrote to CadCode to Evidence: Jensen Decl., Ex. E at 1243.
              21                      ask if there had been "any
              ~~                      cadcode conversions coming
                                      from more than 1 IP address in
              ~~                      regards to our specific account."
              24
                            199.     CadCode responded that they Evidence: Jensen Decl., Ex. E at 1242.
              25
                                     "just verified that all of the
              26                     authorization requests have
                                     come from the same com uter
              27
                         {02140081.DOCX}                           11
              7$
                             DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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            t             ID."

                 200.      On January 4, 2017, CadCode Evidence: Jensen Decl., Ex. E at HDMI
            3              wrote to Plaintiff stating that: 1193; Jensen Decl., Ex. N at 86:2 —
                          "For the record, we don't have 87:25.
           4
                         . any evidence that Dave and/or
           5               his current company are using
           6               the CadCode solution."

            7    201.      Winter    did   not    provide Evidence: Jensen Decl., Ex. B at 14:22
            8              Casablanca with any type of — 17:2, 123:17 — 126:1.
                           trade secret or confidential
            9
                           information    relating     to
           10              CadCode.
           11
                 202.     On March 16, 2017, Plaintiff Evidence: Jensen Decl., Ex. T.
           12             sent e-mail correspondence to
 a
  N
  ~~     13               CadCode stating that Plaintiff's
H'~~~~                    "server issues" have not been
F ~~n000
o ~~~M 14
U a ¢a;~                  resolved and requesting that
~ ~ o~~ 15                CadCode make the issue a high
w ~~o,o,
~ ~ ~~'¢ 16
                          priority "so we can get back up
a 'G ~~w                  and running."
  ~~
  0      17
 M

           18    203.      Casablanca generated HOP files Evidence: Vilfer Decl., ¶ 16, Ex. F.
                           on March 13, 14, 15, 16, and 17,
           19
                           2017.
           20
           21
                 204.       Between December 30, 2014 Evidence: Vilfer Decl., ¶ 15, Ex. E.
                           and January 1, 2019, Casablanca
           22              frequently did not generate HOP
           23              files for days at a time,
                           especially over weekends.
           24
           ?s    205.      E-mail correspondence from Evidence: Krzeminski Decl., Ex. 56
           2~~             CadCode states that service to ("please note that your support will
                           Plaintiff will terminate as of ex ire on 1/30/16").
           ~~
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           ~~
                  DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                  FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                          February 1, 2016.

                 206.     Casablanca produced HOP files Evidence: Vilfer Declaration, ¶ 21, Ex.
            3             on February 1, 2, 3, and K.
                          February 4, 2016.
            4
            5    207.     In December 2, 2016, e-mail Evidence: Exhibit 23 to the Krzeminski
                          correspondence           CadCode Declaration HDMI 278.
                          informed HighMark that, "[a]s
                          for the discrepancies, we're not
            8             sure there really are any."


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           28     DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                  FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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              1
                                              Four Seasons Breach of Contract

                      146.      Plaintiff   used    software        Evidence: Krzeminski Decl., Ex. 3 at
                                originally developed by a           1340 — 1341, Jensen Decl., Ex. A at
                                company called MetaWorks,           35:22 — 36:9, 44:23 — 45:17; 69:6 —
                                LLC to convert Proliner             70:19; Jensen Decl., Ex. G at 11:19 —
              ~~                measurement data into an            16:9.
                                eXtensible markup language
                               ("XML") output ("MetaWorks
                                Software").
              ~~
                      1 47.     Plaintiff used software supplied    Evidence: Jensen Decl., Ex. G at 18:25
             10                 by       CadCode         Systems    — 21:12; Jensen Decl., Ex. H at 145:25 —
             ll                ("CadCode") to translate XML         147:15; Jensen Decl., Ex. A at 72:9 —
                                output into files written in HOP    81:21.
             l?                ("CadCode Software").
  0
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    Ny ~      13
H'a~~~                148.      A     CadCode file library Evidence: Jensen Decl., Ex. H at 154:2
F-~ ~ ~n o0 0
o ~~~M
     ~Q~,~ 14                   translated non CNC machine — 21; Jensen Decl., Ex. G at 24:16 — 22.
~ ~ ~oNj
~ ¢ Uo~~     15                 specific data (e.g., Plaintiff's
                                XML) into files readable by
a ~~ ~~'~ 16
                                CNC machines produced by
  ~ `~
  0          17                 different CNC manufacturers
  M

             18                (e.g., HOP in the case of Holz-
                                Her).
             19

             20       149.       A HOP file is the instruction to Evidence: Jensen Decl., Ex. G at 18:25
                                 the CNC machine to cut the — 19:7.
            ?1
                                 door.
             22
             23       150.       Holz-Her GmbH ("Holzer-            Evidence: Declaration of Don Vilfer
                                 Her") CNC machines are             ("Vilfer"), ¶ 7; Jensen Decl., Ex. G at
             24                                                      18:25 — 19:7; Jensen Decl., Ex. B at
                                 programmed to receive cutting
             25                  instructions in HOP.                129:13 — 18; Jensen Decl., Ex. O.
             26
                      151.       In or around October 2011, Evidence: Glenn Johnson Decl.,                5,
             27
                   {o2iaoos~.vocx}                             14
             28        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                       FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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              1              Casablanca entered into an Ex. A.
                             agreement with Prodim to use
              2              Prodim software to convert
              3              Proliner measurement data into
                             cutting instructions written in
              4
                             HOP.
              5
              6    152.       In 2013, Casablanca paid to Evidence: Jensen Decl., Ex. L at
                              upgrade the Prodim software it Response No. 1.
              7               licenses.
              8
                   153.       Casablanca has manufactured Evidence: Vilfer Decl., ¶ 8 — 11.
              9
                              doors using Prodim software
              10              since November 2011.
              11
                   188.       Prodim uses computer aided Evidence: Vilfer Decl., ¶ 8 — 11. Jensen
              12              manufacturing         software Decl., Ex. B at 124:3 — 128:8.
  0
  N
  ~~    13                    provided by the third-party
H ~~~~~
H ~~~o                        company vectorcam to translate                       .
o ~~~M 14
V] ~j ¢ N N
                              Proliner XML files into cutting
~ ~ o~~                       instructions for Casablanca's
w ~~o~a~
                              Holz-Her     CNC      machine
o .~ ~~'X 16
a ~ ~ ~w                      written in HOP.
  0       17
  M
                   208.       Software installed on the Evidence: Jensen Decl., Ex. L at
                              Prodim Proliner generates an Response No. 1; Jensen Decl., Ex. B at
              ~y              XML file containing door 228:15 — 228:22.
              20              measurement data.
              21
                   209.       Plaintiff did not install source Evidence: Jensen Decl., Ex. F 86:1 —
              22              code for the MetaWorks 86:22; Jensen Decl., Ex. H at 89:6 — 16,
              23              Software or the CadCode 92:15 — 93:25, 94:25 — 95:15.
                              Software locally        at the
              24
                              Torrance, California facility
              25              Four Seasons and            then
                              Casablanca conducted business
              26
                              from.
              27
                   140081.DOCX}                           15
              2g
                    DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                   210.         Plaintiff stores source code in a Evidence: Jensen Decl., Ex. H at 89:6 —
                                cloud-based repository, which 23, 96:23 — 97:7; Jensen Decl., Ex. F at
          2                     Four Seasons never accessed or 86:1 — 86:22.
          3                     attempted to access.
          4
                   211.         Neither Four Seasons nor           Evidence: Jensen Decl., Ex. F at 86:1 —
          5                     Casablanca ever accessed or        86:22, 173:19 — 174:20; Jensen Decl.,
          6                     attempted to access source code    Ex. C at 124:4 — 125:11; Jensen Decl.,
                                for any component of One-          fix. H at 91:16 — 92:14; 93:17 — 94:22;
          7                     CutT"'.                            96:23 — 99:20; 136:15 — 137:9.
          8
                   212.         Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. H at
          9
                                Officer admitted that he was 162:19 — 163:24.
          10                    aware of no facts suggesting
                                that Defendants took source
                                code from Plaintiff.
         12
  0
  0
  N
  ~~     13        213.         Neither Casablanca nor Four Evidence: Jensen Decl., Ex. F at 31:1 —
H ~~~_,~
H ~~~o                          Seasons ever accessed or 33:10.
o ~°~~M 14
U ~Q~~                          attempted to access the XML
     Nj
~ ~U~o
~ ¢ o~o~ 15                     output generated by the
w ~~~,~,
  ~ ~~'~ 16
                                MetaWorks Software.
    ~w
 ~~
 0        17       214.         The Johnsons do not have Evidence: Jensen Decl., Ex. F at 86:1 —
 M
                                experience writing source code. 22, 93:17 — 94:2, 173:19 — 174:20;
                                                                Jensen Decl., Ex. C at 124:4 — 125:11.
          ~~
          20       215.         Neither Casablanca nor Four Evidence: Jensen Decl., Ex. F at 173:19
          21                    Seasons has ever possessed any — 174:20.
                                source code for the Prodim
          F~~                   software, including vectorcam.
          23
                   216.         Neither Four Seasons or            Evidence: Ex. M at 15:7 — 16:3, 30:8 —
          24
                                Casablanca sent a HOP file         32:4, 34:6 — 36:2, 50:21 — 51:11, 52:12
          25                    generated by CadCode and/or        — 15; 53:12 — 57:6; 90:3 — 90:15; 97:10
                                Plaintiff to Prodim.               — 98:2. Jensen Decl., Ex. N at 108:20 —
          26
                                                                   110:6.
          27
                {02~ aoos ~.nocx}                             16
          28        DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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             1     217.        Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. G at 18:25
                               Officer .admitted that he - 21:12.
                               "could not recreate all of the
            3                  functionality of CadCode"
                               using a HOP file.
            4
            5      218.        Prodim had software to Evidence: Jensen Decl., Ex. A at 128:9
            6                  translate Proliner measurement — 130:1 1.
                               data into HOP files prior to
            7                  Dairl Johnson licensing such
            8                  software from Prodim in 2011.
            q
                   219.            In or around 2006, McElroy Evidence: Jensen Decl., Ex. A at 20:8 —
            10                     attended atrade show to meet 23:24; 69:6 — 70:19.
            11
                                   with Prodim and discuss
                                   automating the replacement
            12                     door manufacturing process.
 0
  N
  ~~   13
H's~~~             220.            Prodim already had basic door Evidence: Jensen Decl., Ex. A at 33:21
o ~~~~ 14
U ~  o; ~                          software,      which        it — 35:6.
~~ U ~a
~ ¢ o~~ 15                         demonstrated for McElroy.
w ~~~~
o .~ F ~ 16
a ~~               221.            When McElroy met with Evidence: Jensen Decl., Ex. A at 21:9 —
   ~
  o'        17                     Prodim, Prodim was already 22.
  M

            18                     using the Prodim Proliner to
                                   measure and cut countertops
            19
                                   on CNC machines.
            20
            21
                   222.            Prior to meeting with Prodim, Evidence: Jensen Decl., Ex. A at 29:9 —
                                   McElroy "didn't even know 30:3.
            22                     what a CNC machine was."
            23
                   223.            Prodim recommended that Evidence: Jensen Decl., Ex. A at 29:9 —
            24
                                   McEli-oy use Holz-Her CNC 30:3.
            25                     machines to cut doors.
            26
            27
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            ~g
                     DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                   t    224.       McElroy opted to use Holz- Evidence: Jensen Decl., Ex. A at 37:21
                                   Her CNC machines because — 38:4.
                                   they were cost effective and
                  3                because     of     Holz-Her's
                                   preexisting relationship with
                  4
                                   Prodim.
                  5
                        225.           McElroy understood that Evidence: Jensen Decl., Ex. A at 29:21
                                       Holz-Her and Prodim had sold -30:3.
                                       machines.
                  s
                   ~~   226.           As of 2006, Holz-Her had Evidence: Jensen Decl., Ex. A at 31:2 —
                                       been cutting doors on CNC 31:18.
                  10                   machines for years.
                  11
                        227.           Prodim was measuring and Evidence: Jensen Decl., Ex. A at 21:9 —
                  12                   cutting countertops on Holz- 22; 29:21 — 30:3.
     0
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     N            13                   Her CNC machines in 2006.
    ~ N
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U ~¢c;r                 228.           After the trade show, Prodim Evidence: Jensen Decl., Ex. A at 49:9 —
~~ U~
~ ¢ o ,~ ~0 15                         travelled to McElroy's door 52:25.
w ~~~~
~ ~~ Eax 16                            facility and cut a door using a
a 'c ~~~                               Proliner, Prodim provided
     ~~
     0            17                   door software, and McElroy's
     M
                  18                   Holz-Her CNC machine.
                  19
                        229.           McElroy            considered Evidence: Jensen Decl., Ex. A at 44:5 —
                  20                   purchasing Prodim developed 47:1.
                  21
                                       software to convert Proliner
                                       measurement data into HOP
                  22                   format, but decided not to
                  23                   because Prodim wanted to
                                       enter into a "per-door"
                  24
                                       licensing agreement, whereas
                  25                   McElroy wanted to own the
                                       software.
                  26

                  27
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                         DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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            1    230.       McElroy contracted        with Evidence: Jensen Decl., Ex. A at 66:20
                            MetaWorks to develop the — 70:14; Krzeminski Decl., Ex. 3.
            2               MetaWorks Software (which
            3               converted             Proliner
                            measurement data into XML),
            4
                            but    multiple    companies,
            5               including     Prodim,      had
            6               "expressed they had the ability
                            to do what we were asking
            7               them to do."
            8
                 231.       It        was       McElroy's Evidence: Jensen Decl., Ex. A at 31:2 —
            9
                            understanding that Prodim and 31:18.
            10              Holz-Her could put together
            11
                            an integrated software solution
                            "fairly easily."
        12
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            28    DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                  FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                1                               Trade Secret Misappropriation


                       146.      Plaintiff   used    software       Evidence: Krzeminski Decl., Ex. 3;
               3                 originally developed by a          Jensen Decl., Ex. A at 35:22 — 36:9,
               4                 company called MetaWorks,          44:23 — 45:17; 69:6 — 70:19; Jensen
                                 LLC to convert Proliner            Decl., Ex. G at 11:19 — 16:9.
               5                 measurement data into an
                                 eXtensible markup language
                                ("XML")output ("MetaWorks
               7
                                 Software").
               8
               9       147.      Plaintiff used software supplied   Evidence: Jensen Decl., Ex. G at 18:25
                                  by       CadCode       Systems    — 21:12; Jensen Decl., Ex. H at 145:25 —
                                 ("CadCode")to translate XML        147:15; Jensen Decl., Ex. A at 72:9 —
               11                 output into files written in      81:21.
                                  HOP("CadCode Software").
               12
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  ~~           13      148.      A CadCode file library Evidence: Jensen Decl., Ex. H at 154:2
H ~~~o                            translated non CNC machine — 21; Jensen Decl., Ex. G at 24:16 — 22.
o ~~~M 14
U ~ o~ ~                          specific data (e.g., Plaintiff's
~ ~U~o Nj
~ Q o~c~o 15                      XML) into files readable by
w ~~~.~
~"~~
~  ~ ~:ax
     ~ w¢ 16                      CNC machines produced by
  f 'c ~ F"w
fo„                               different CNC manufacturers
  ~~
  0            17
  M
                                 (e.g., HOP in the case of Holz-
               18                 Her).
               19
                       149.      A HOP file is the instruction to Evidence: Jensen Decl., Ex. G at 18:25
               20                the CNC machine to cut the — 19:7.
               21                door.
               22
                       150.      Holz-Her GmbH ("Holzer-            Evidence: Declaration of Don Vilfer
               23                Her") CNC machines are             ("Vilfer"), ¶ 7; Jensen Decl., Ex. G at
                                 programmed to receive cutting       18:25 — 19:7; Jensen Decl., Ex. B at
               24
                                 instructions in HOP.                129:13 — 18; Jensen Decl., Ex. O.
               25

               26      151.      In or around October 2011, Evidence: Glenn Johnson Decl., ¶ 5, Ex.
                                 Casablanca entered into an A.
               27
                    {02140081.DOCX}                             20
               2g       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                        FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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                1                agreement with Prodim to use
                                 Prodim software to convert
                                 Proliner measurement data into
               3                 cutting instructions written in
                                 HOP.
               4

               5        1 52.    In 2013, Casablanca paid to Evidence: Jensen Decl., Ex. L at
                                 upgrade the Prodim software it Response No. 1.
                                 licenses.

               s       153.      Casablanca has manufactured Evidence: Vilfer Decl., ¶ 8 — 11.
                                 doors using Prodim software
               9
                                 since November 2011.

               11       188.     Prodim uses computer aided Evidence: Declaration of Don Vilfer, ¶ 7
                                 manufacturing         software — 10; Jensen Decl., Ex. B at 124:3 —
               12                provided by the third-party 128:8.
  0
  Ny ~   13                      company vectorcam to translate
H ~~~~~                          Proliner XML files into cutting
F ~~n000
o ~~~M
   ~Q~~ 14                       instructions for Casablanca's
~ ~ U ~o`~j
~ ¢ o~~  15                      Holz-Her     CNC      machine
~ ~~~~
~ ~ ~~'X 16
                                 written in HOP.
a 'c ~F"ud..
  ~ ~'
  0            17       1 89.     Vectorcam is installed locally Evidence: Jensen Decl., Ex. B at 124:3 —
  M

               18                 at Casablanca and One Day 128:8.
                                  Enterprises' Torrance and
               19
                                  Rocklin, California facility,
               20                 respectively; Defendants do not
               21
                                  access any type of off-site
                                  server to generate HOP files.
               22

               23       190.     Each HOP file stored on Evidence: Declaration of Don Vilfer, ¶ 7
                                 Defendants' CNC machine — 10.
               24
                                 from November 2011 to the
               25                present bears the name
                                 "vectorcam" in its text.
               26

               27
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               ~:~       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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             1    191.     Casablanca licensed the Prodim Evidence: Glenn Johnson, Ex. A.
                           software, including vectorcam
             2             to generate HOP files, for a
             3             one-time fee.
             4
                  1 92.    Casablanca       can generate Evidence: Glenn Johnson Decl., ¶ 5, Ex.
             5             infinite HOP files using the A.
             ~~            vectorcam software linked to
                           their CNC machines for no
                           additional cost.

             ~~   193.     From January of 2017 to the Evidence: Winter Decl.,¶ 11.
                           present Winter has been an
                           employee      of One   Day    '
                           Enterprises, LLC.

             1?   194.      One Day Enterprises, LLC has Evidence: Jensen Decl., Ex. B at 123:17
    0
    N
   ~,  13                   used      Prodim     software, — 126:1; Jensen Decl., Ex. K.
H'~~~~
  ~~~o                      including     vectorcam,    to
H
O ~~~M 14
] ~j ¢ N N
V
                            manufacture doors since its
_
~ ¢~Uo,o~
     o~~ ~5                 commenced operations in 2017.
w ~~o~o~
o ~ ~w~ 16
a ~ ~F w          195.      One Day Enterprises never Evidence: Jensen Decl., Ex. B at 123:17
    o~                      accessed      the     CadCode — 126:1.
    M
             18             Software to generate HOP files.
             19
                  196.      On December 2, 2016, Evidence: Jensen Decl., Ex. E at 1187,
             20             Plaintiff's Chief Technology 1239 — 1240.
                            Officer       sent       e-mail
             21
                            correspondence stating that
             22             Plaintiff was generating more
             23             HOP files than it was
                            producing doors because, for a
             24                                    Plaintiff
                            given       door,
             ?s             regenerates HOP file 3-4 times.
             ~~
             ~~
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             ~g
                   DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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            1      197.      CadCode      responded     that Evidence: Jensen Decl., Ex. E at 1238,
                             Plaintiff's Chief Technology 1187.
                             Officer's    statements     are
           3                 "consistent with the logs, so I
                             think that question has been
           4
                             answered."
           5
            ~~      198.     Plaintiff wrote to CadCode to Evidence: Jensen Decl., Ex. E at 1243.
                             ask if there had been "any
           7                 cadcode conversions coming
            H                from more than 1 IP address in
            ~~               regards to       our specific
                             account."
           io
           1l       199.     CadCode responded that they Evidence: Jensen Decl., Ex. E at 1242.
                             "just verified that all of the
           12                authorization requests have
    0
    0
    N
    ~~     13                come from the same computer
F'~~~~o
H ~~~o                       ID."
o ~°~~M    14
~  ~ ¢~~
~
~¢ ~ Uo~~
        Nj
       ~o
           15      200.      On January 4, 2017, CadCode Evidence: Jensen Decl., Ex. E at 1193;
w ~~~,o,
      ~~x 16                 wrote to Plaintiff stating that: Jensen Decl., Ex. N at 86:2 — 87:25.
a ~~' ~~w
  ~ `~     17
                             "For the record, we don't have
  0                          any evidence that Dave andlor
    M

           ]O
                             his current company are using
                             the CadCode solution."
           l9
           20      201.       Winter did     not provide Evidence: Jensen Decl., Ex. B at 14:22
           21
                              Casablanca with any type of 17:2, 123:17 — 126:1.
                              trade secret or confidential
           22                 information    relating   to
           23                 CadCode.
           24
                   202.      On March 16, 2017, Plaintiff Evidence: Jensen Decl., Ex. T.
           25                sent e-mail correspondence to
                             CadCode stating that Plaintiff's
           26
                             "server issues" have not been
           27
                 {o2iaoog~.Docx}                           23
                     DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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               t               resolved and requesting that
                               CadCode make the issue a high
                               priority "so we can get back up
              3                and running."
              4
                     203.      Casablanca generated HOP Evidence: V i 1fer Decl., ¶ 16, Ex. F.
              5                files on March 13, 14, 15, 16,
                               and 17, 2017.

              7      204.      Between December 30, 2014 Evidence: Vilfer Decl., ¶ 15, Ex. E.
              8                and     January     1,    2019,
                               Casablanca frequently did not
                               generate HOP files for days at a
              to               time, especially over weekends.
              11
                     205.      E-mail correspondence from Evidence: Krzeminski Decl., Ex. 56
              12               CadCode states that service to ("please note that your support will
  a
  N
  ~~    13                     Plaintiff will terminate as of expire on 1/30/16").
H ~~~~                         February 1, 2016.
o ~°`~M 14
U °¢o;c~
~~ U~
~ ¢ o~~ 15           206.       Casablanca produced HOP files Evidence: Vilfer Declaration, ¶ 21, Ex.
F ~ao,o~
                                on February 1, 2, 3, and K.
a 'c ~Hu¢..                     February 4, 2016.
  ~ `~
  0           17
  M

              18     207.       In December 2, 2016, e-mail Evidence: Exhibit 23 to the Krzeminski
                                correspondence          CadCode Declaration HDMI 278.
              19
                                informed HighMark that, "[a]s
              20                for the discrepancies, we're not
              21
                                sure there really are any."

              22     208.       Software installed on the Evidence: Jensen Decl., Ex. L at
              23                Prodim Proliner generates an Response No. 1; Jensen Decl., Ex. B at
                                XML file containing door 228:15 — 228:22.
              24
                                measurement data.
              25

              26
                     209.       Plaintiff did not install source Evidence: Jensen Decl., Ex. F 86:1 —
                                code for the MetaWorks 86:22; Jensen Decl., Ex. H at 89:6 — 16, ',
              27
                     laooa ~.Docx}                               24
              F~:~    DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                            Software or the CadCode 92:15 — 93:25, 94:25 — 95:15.
                            Software locally at the
                            Torrance, California facility
            3               Four Seasons and then
                            Casablanca conducted business
                            from.
            s
                  210.      Plaintiff stores source code in a Evidence: Jensen Decl., Ex. H at 89:6 —
                            cloud-based repository, which 23, 96:23 — 97:7; Jensen Decl., Ex. F at
                            Four Seasons never accessed or 86:1 — 86:22.
            8               attempted to access.
            9
                  211.       Four Seasons nor Casablanca      Evidence: Jensen Decl., Ex. F at 86:1 —
           ~o                has ever accessed or attempted   86:22, 173:19 — 174:20; Jensen Decl.,
           >>                to access source code for any    Ex. C at 124:4 — 125:11; Jensen Decl.,
                             component of One-CutTM.          Ex. H at 91:16 — 92:14; 93:17 — 94:22;
           ~?                                                 96:23 — 99:20; 136:15 — 137:9.
 0
 0
  N
  ~~       13
                  212.       Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. H at 162:19
o ~~~~ 14
U ~¢o; ,;                    Officer admitted that he was — 163:24.
~ ¢ o~o~0 15                 aware of no facts suggesting
w ~~~,~
                             that Defendants took source
p ,~ ~ w~¢ 16
a ~ ~Hw                      code from Plaintiff.
  o `~     17
  M

           lg     213.       Neither Casablanca nor Four Evidence: Jensen Decl., Ex. F at 31:1 —
                             Seasons ever accessed or 33:10.
           19
                             attempted to access the XML
           ~~                output generated by the
           21
                             MetaWorks Software.

           22     214.       The Johnsons do not have Evidence: Jensen Decl., Ex. F at 86:1 —
           23                experience writing source code. 22, 93:17 — 94:2, 173:19 — 174:20;
                                                             Jensen Decl., Ex. C at 124:4 — 125:11_.
           24

           25     215.       Neither Casablanca nor Four Evidence: Jensen Decl., Ex. F at 173:19
           26
                             Seasons has ever possessed any — 174:20.
                             source code for the Prodim
           27
                {o2taoog~.Docx}                            25
           ~g
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                                 software, including vectorcam.

                      216.       Neither Four Seasons nor          Evidence: Ex. M at 52:12 — 15; 53:12 —
                                 Casablanca sent a HOP file        57:6; 59:13 — 17; 60:14 — 60:21; 90:3 —
                                 generated by CadCode and/or       90:15; Jensen Decl., Ex. N at 108:20 —
               4
                                 Plaintiff to Prodim.              110:6.
               5
               ~~     217.      Plaintiffs Chief Technology Evidence: Jensen Decl., Ex. G at 18:25 -
                                Officer admitted that he "could 21:12.
               7                not recreate all of the
               8                functionality of CadCode"
                                using a HOP file.

               10     218.       Prodim had software to Evidence: Jensen Decl., Ex. A at 128:9
               11                translate Proliner measurement — 130:11.
                                 data into HOP files prior to
               12                Dairl Johnson licensing such
  0
  0
  N
  ~~           13                software from Prodim in 2011.
~ ~~~~    14
                                 In or around 2006, McElroy Evidence: Jensen Decl., Ex. A at 20:8
  ~ ~ ~ M
                      219.
~¢' o~~ IS                       attended    a    trade  show 23:24.
w ~~~,~
o .~ ~ ~'~ 16
                                 specifically to meet with
p„~ ,~ ~ H w                     Prodim and discuss automating
  o~                             the      replacement     door
  M

               w:                manufacturing process.
               19
                      220.       Prodim already had basic door Evidence: Jensen Decl., Ex. A at 33:21
               20                software,       which       it — 35:6.
               21
                                 demonstrated for McElroy.

               22     221.       When McElroy met with Evidence: Jensen Decl., Ex. A at 21:9 —
               23                Prodim, Prodim was already 22.
                                 using the Prodim Proliner to
               24
                                 measure and cut countertops on
               25                CNC machines.
               26
                      222.       Prior to meetin with Prodim, Evidence: Jensen Decl., Ex. A at 29:9 —
               2~
                    {o2iaoos~.~ocx}                               26
               ~~
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                  1            McElroy "didn't even know 30:3.
                               what a CNC machine was."
                 2

                 3    223.     Prodim recommended that Evidence: Jensen Decl., Ex. A at 29:9 —
                               McElroy use Holz-Her CNC 30:3.
                 4
                               machines to cut doors.
                 5

                 6    224.     McElroy opted to use Holz-Her Evidence: Jensen Decl., Ex. A at 37:21
                               CNC machines because they — 38:4.
                               were cost effective and because
                 8             of Holz-Her's        preexisting
                               relationship with Prodim.
                 9

                 10   225.      McElroy understood that Holz- Evidence: Jensen Decl., Ex. A at 29:21 -
                 11             Her and Prodim had sold 30:3.
                                machines.
                 12
  0
  0
  N ~,           13   226.      As of 2006, Holz-Her had been Evidence: Jensen Decl., Ex. A at 31:2 —
                                cutting   doors     on  CNC 31:18.
  ~°`~M 14
O ~~~~
~
U ~ ¢~ ~
rn ~ U a                        machines for years.
         ocv,,
p,d o~c~ 15
W ~~o,o~
~ ~ ~~¢ 16            227.      Prodim was measuring and Evidence: Jensen Decl., Ex. A at 21:9 —
.
te 'c ~ F" w
P                               cutting countertops on Holz- 22; 29:21 — 30:3.
  ~ ~'
  0              17             Her CNC machines in 2006.
   M

                 18
                      228.      After the trade show, Prodim Evidence: Jensen Decl., Ex. A at 49:9 —
                 19
                                travelled to McElroy's door 52:25.
                 20             facility and cut a door using a
                 21
                                Proliner, Prodim provided door
                                software, and McElroy's Holz-
                 22             Her CNC machine.
                 23
                 24
                      229.      McElroy considered purchasing Evidence: Jensen Decl., Ex. A at 44:5 —
                 25             Prodim developed software to 47:1.
                 26
                                convert Proliner measurement
                                data into HOP format, but
                 27
                       ~ooai.~ocx}                           27
                 28    DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                              decided not to because Prodim
                              wanted to enter into a "per-
                              door" licensing agreement,
                              whereas McElroy wanted to
                              own the software.

                5    230.     McElroy      contracted     with Evidence: Jensen Decl., Ex. A at 66:20
                              MetaWorks to develop the — 70:14; Krzeminski Decl., Ex. 3.
                              MetaWorks Software (which
                              converted               Proliner
                              measurement data into XML),
                ~~            but    multiple     companies,
                              including      Prodim,       had
                              "expressed they had the ability
                              to do what we were asking
                              them to do."
        12
  0
  0
  Ny ~  13           231.     It        was       McElroy's Evidence: Jensen Decl., Ex. A at 31:2 —
H ~s~~~                       understanding that Prodim and 31:18.
H ~~~o
o ~~~M 14
~ ~ ~~                        Holz-Her could put together an
~¢ o~~ 15                     integrated software solution
w ~~o~o~
                              "fairly easily."
 e 'c ro F" w
t.
P
  ~ ~'
  0             17   232.      A July 13, 2006 HOP Interface Evidence: Jensen Decl., Ex. O; Vilfer
   M

                is             manual describes how to Decl., ¶ 12, 14.
                               program HOP files for Holz-
                19
                               Her CNC machines.
                20
                21
                     233.      Holz-Her gives out sample Evidence: Winter Decl., ¶ 14, Ex. G.
                               HOP files to users of its CNC
                22             machines.
                23
                     234.      On woodworking and CNC Evidence: Vilfer Decl., ¶ 13 - 15, Ex. D,
                24
                               machine forums, users discuss E.
                25             programming Holz-Her CNC
                               machines and writing HOP
                26
                               files and share information
                27
                     140081.DOCX}                           28
                ~~
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                 1                 amongst themselves, including
                                   sample HOP files.
                2
                3        235.      As of 2006, Holz-Her had been Evidence: Jensen Decl., Ex. A at 31:9 —
                                   cutting doors on its CNC 32:3.
                4
                                   machines for years.
                5
                6        236.      Plaintiff's Chief Technology Evidence: Jensen Dec., Ex. H at 158:19-
                     .
                     .             Officer admitted that CadCode 22.
                                   offers its software to other
                8                  customers.
                9
                         237.      According to Plaintiff's Chief Evidence: Jensen Decl., Ex. G at 29:1 —
                10                 Technology Officer, CadCode 30:8; Jensen Decl., Ex. Q.
                11                 HOP files are "simple"
                                   compared to XML.
                12
  0
  0
   N~ ~         13       238.     McElroy testified that he does Evidence: Jensen Decl., Ex. A at
 '~ N
[—~ ~ v~ oo O                     not see HOP files as something 145:25-146:12.
o ~°~~M 14
U ~ ¢~ ~                          "proprietarywise."
~¢' o~~ 15
H ~~~~                   239.      Winter, the former President Evidence: Jensen Decl., Ex. B at 95:8 —
o ~ ~~'X 16
                                   and Chief Executive Officer of 98:6.
   o~           17                 Plaintiff, does not consider
   M

                18                 HOP files proprietary to
                                   Plaintiff.
                19
                20       240.      Between 2008 and at least Evidence: Winter- Decl., ¶ 15.
                21                 2012, Plaintiff and CadCode
                                   did not execute a written
                22                 confidentiality    or      other
                23                 agreement restricting Plaintiff's
                                   use of the CadCode Software to
                24
                                   generate HOP files.
                25
                26
                         241.      After    CadCode      contacted Evidence: Jensen Decl., Ex. Q.
                                   Plaintiff re ardin   Plaintiff's
                ~~
                         ~aooa~.Docx}                            29
                          DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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              1                  use of the CadCode Software,
                                 Plaintiff's Chief Technology
             2                   Officer         sent       e-mail
             3                   correspondence stating in part:
                                 [A]fter reviewing our source
             4
                                 code, your part is just a small
             s                   code library that our system
             ~~                   wraps and exposes. My
                                 software generates the XML
                                 that      your    little  library
             8                   consumes. Your library spits
              ~~                  out a rather simple hop file that
                                  is about 200 lines long with
             10                   about 15 CNC cutting features .
             11
                                 . . Indeed, the construction of
                                  the input XML is way more
             12                   complicated and lOx longer in
 0
 0
  ~~         13                   length. We use your library
                                  because it is convenient. To do
~ ~~~~ 14
Q ~ O~ 7 M
                                  away with this convenience, I
     ¢ ~;~
~ ~j U~a
~ ¢ o~~ 15                        would have to sit down and
w ~~~,~
                                  change our logic to output the
~ ~ ~wQ 16
a •~ ~Hw                          HOP directly instead of
 ~ ~'
 0           17                   outputting the XML              I
 M
             is                   would prefer to not have to do
                                  this, but it is not remotely
             19                   difficult.
             20
             21       242.       Plaintiffs      current    Chief Evidence: Jensen Decl., Ex. Q.
                                 Executive Officer, Richard
             22
                                 Matulia, responded that the e-
             23                  mail was good but he did not
             24                   want CadCode to "leverage
                                 [Plaintiff) on new pricing."
             25
             26       243.        Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. Q; Jensen
                                  Officer wrote software that was Decl., Ex. H at 145:25 — 147:15; Jensen
             27
                   {oz ~ aoos i.~ocx}                             30
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                1                the   "equivalent"   of   the Decl., Ex. G at 22:1 — 10.
                                 CadCode software and Plaintiff
               2                 stopped paying to use the
               3                 CadCode Software to generate
                                 HOP files.
               4
               5
               6
                7


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               11
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  ~~N
               13
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~ ¢ o~~ 15
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  M

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               21
               22
               23
               24
               25
               26
               ~~
                    {o2taoost.nocx}                           31
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                                                  Cal. Penal Code Sec. 502

                     172.      Plaintiff's Chief Technology Evidence: Jensen Decl., Ex. H at 162:3
                               Officer,      Joseph      Fallon — 163:16, 181:11-21,191:13 — 193:5,
              4
                              ("Plaintiff's CTO"), admitted 200:2 — 18, 224:3 - 21, 229:1 —11.
              5
              _                that he has no evidence Winter
              ~~               took, disclosed, or used trade
                               secret       or      confidential
                               information      belonging     to
              8                Plaintiff in any manner.
              9
                      173.      Winter intended to return the Evidence: Jensen Decl., Ex. B at 79:16 -
              10                Apple     laptop  upon    his 20; 88:4-89:18
              11
                                resignation.

             12       174.      Right after the end of his Evidence: Jensen Decl., Ex. B at 79:16 —
  0
  N
  ~~         13                 employment, Winter received 20; 46:18 — 49:5; Winter Decl.,¶ 6 — 8.
H'~~~~                          an email alert that account
F ~~~~ 14
O ~ O~ ~'f M

    Q °~ ''                     information for his personal
-~  UoN
~ a o~~
       ,~
        15                      Wells Fargo bank account had
F ~~~~
~ ~~-'X 16
                                been changed, including the
  a~ Hw
a •~
~                               changing of Winter and his
  o `~        17                wife's personal password and
  M

              18                the removal of Winter and his
                                wife's name and contact
                                information.
              20
                      175.      HighMark banked with US Evidence: Jensen Decl., Ex. I at 177:13 -
              21
                                Bank at the time.       15.
              22
              23      176.      Winter went to the bank and Evidence: Jensen Decl., Ex. B at 4h:18 —
                                was informed that his account 49:5; Winter Decl., Ex. D.
              24
                                information was changed to
              25                include Matulia's email address
                                along with other HighMark
              26
                                email addresses, Hi hMark
              27
                   {o2iaoos~.Docx}                           32
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          1                phone numbers and the
                           physical address for HighMark.
          2
          3      177.      Winter believes that his Evidence: Jensen Decl., Ex. B at 167:17
                           personal Facebook page was 168-7; Winter Decl.,¶ 7-8, Ex. E.
          4
                           accessed and account settings
          5                including the changing of his
          6                password and the removal of
                           his personal email account
          7                were made by HighMark.
          8
                  1 78.    Winter was not informed by Evidence: Winter Decl.,¶ 7-8, Ex. D-E.
          9
                           HighMark that changes were
          to               going to be made to the Wells
          11               Fargo bank account and the
                           Facebook account prior to
 0        12               when such changes were made.
 0
 N
 ~~       13               Winter did not consent to
   N
                           HighMark making changes to
O ~~~~
~     * M 14
  ai°`~
  ~ ~~~                    the Wells Fargo bank account
~¢ o~~ 15                  and the Facebook page.
w ~~~~
o .~ ~~'~ 16
                  179.      In July of 2015 Katherine Evidence: Jensen Decl., Ex. J at 13:24-
  o~      17                Gabales was an employee of 14:6, 24:5- 10.
  M

          18                HighMark.
          19
                  180.      Gabales was instructed to Evidence: Jensen Decl., Ex. J at 46:11-
          20                change credentials for Winter 14, 47:3-6.
          21
                            after he left HighMark.

          22      181.      After the resignation of Winter, Evidence: Jensen Decl., Ex. J at 48:25-
          23                Gabales accessed a Wells 50:9, 71:4-15.
                            Fargo bank account and
          24
                            switched the credentials to
          25                reflect HighMark.
          26
                  1 82.     After the resi nation of Winter, Evidence: Jensen Decl., Ex. J at 65:25-
          27
               {o2laoos~.~ocx}                              33
          28       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                      t                Gabales accessed a Facebook 66:17, 71:4-15.
                                       account and switched the
                                       credentials to reflect Highmark.
                     3
                            183.       Gabales assumed that the Evidence: Jensen Decl., Ex. J at 71:4-
                     4
                                       accounts where credentials 72:24.
                      s                were changed were HighMark
                                       accounts and were not personal
                                       accounts of Winter.

                      s     184.       Winter was advised by Wells Evidence: Jensen Decl., Ex. B at 47:5-
                      ~~               Fargo officials in its fraud 17.
                                       department to wipe the hard
                     ~o                drive of the Apple computer.
                     11
                            185.       Winter, did not want to do so, Evidence: Jensen Decl., Ex. B at 47:5-
                     ~2                but ultimately did wipe the 17.
      0
      0
      N
      ~ y~
                       ^~
                     ~ _7              hard drive of the Apple laptop.
E"~     pp ~-.+ ~O
      ~ N
F•~~n000
o ~~~M 14
~ ~¢~;~                     1 86.      Before wiping the hard drive of Evidence: Jensen Decl., Ex. B at 47:5-
~~ U~c
~ ¢ o,~~ 15                            the Apple laptop, Winter 17, 81:5-11.
w ~eo.c
H ~N                                   backed up any HighMark files
                     16
a •~ ~~~                               to an external hard drive.
      ~~
      0
      M
                     ~~     187.       The external electronic storage Evidence: Jensen Decl., Ex. B at 47:5-
                                       device provided by Winter 17, 81:5-11, 89:19-90:11, 248: 22-
                     ~ ~~
                                       contained HighMark files and 249:22.
                     ~o                there is no suspicion that files
                     ~~                were missing.

                     22     188.       Prodim uses computer aided Evidence: Declaration of Don Vilfer, ¶ 7
                     23                manufacturing         software — 10; Jensen Decl., Ex. B at 124:3 —
                                       provided by the third-party 128:8.
                     24
                                       company vectorcam to translate
                     25                Proliner XML files into cutting
                                       instructions for Casablanca's
                     26
                                       Holz-Her     CNC      machine
                     27
                            tacos i .~ocx;                          34
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           1                written in HOP.

                  189.      Vectorcam is installed locally Evidence: Jensen Decl., Ex. B at 124:3 —
           3                at Casablanca and One Day 128:8.
                            Enterprises' Torrance       and
           4
                            Rocklin, California facility,
           s                respectively; Defendants do not
           ~~               access any type of off-site
                            server to generate HOP files.

           g       1 90.    Each HOP file stored on Evidence: Declaration of Don Vilfer, ¶ 7
                            Defendants' CNC machine — 10.
            y
                            from November 2011 to the
           ~o               present   bears the      name
           11
                            "vectorcam" in its text.

 0
           12      191.      Casablanca licensed the Prodim Evidence: Glenn Johnson, Ex. A.
 0
 N
  ~ ~, li                    software, including vectorcam
H'a~~~                       to generate HOP files, for a
o ~~~~ 14
U ~Qa~                       one-time fee.
~ > U ~c
.¢ o ,c ~c 15
~
W ~~o+o~
                   192.      Casablanca       can generate Evidence: Glenn Johnson Decl., ¶ 5, Ex.
           ~~
o.~~~~                       infinite HOP files using the A.
 ~ `~
 0     l7                    vectorcam software linked to
  M

           18                their CNC machines for no
                             additional cost.
           19

           20      1 94.     One Day Enterprises, LLC has Evidence: Jensen Decl., Ex. B at 123:17
                             used      Prodim     software, — 126:1; Jensen Decl., Ex. K.
           21
                             including     vectorcam,    to
           22                manufacture doors since its
           23                commenced operations in 2017.
           24
                   195.      One Day Enterprises never Evidence: Jensen Decl., Ex. B at 123:17
           ?s                accessed      the     CadCode — 126:1.
           ?~                Software to generate HOP files.

           ~~
                {o2~aoost.~ocx}                           35
           ~g
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                 1        196.     On     December 2, 2016, Evidence: Jensen Decl., Ex. E at 1187,
                                   Plaintiff's Chief Technology 1239 — 1240.
                 2                 Officer       sent       e-mail
                 3                 correspondence stating that
                                   Plaintiff was generating more
                4
                                   HOP files than it was
                 5                 producing doors because for a
                6                  given       door,      Plaintiff
                                   regenerates HOP file 3-4 times.

                 s        1 97.    CadCode      responded     that Evidence: Jensen Decl., Ex. E at 1238,
                                   Plaintiff's Chief Technology 1187.
                                   Officer's    statements     are
                10
                                   "consistent with the logs, so I
                11                 think that question has been
                12
                                   answered."
  0
  0
  Ny ~          13        198.      Plaintiff wrote to CadCode to Evidence: Jensen Decl., Ex. E at 1243.
F '~~.,~o
F-~ ~ ~n o0 0
o ~°~~M 14                          ask if there had been "any
U ~¢a;~
~ ~U~o`y,                           cadcode conversions coming
~ ¢ o~~ 15
w ~~o~o~                            from more than 1 IP address in
o,~ ~aX 16
a ~ ~ Hu
       .
       ¢
                                    regards
                                    account."
                                               to    our   specific
  o ~'          17
   M

                10        199.     CadCode responded that they Evidence: Jensen Decl., Ex. E at 1242.
                l9                 "just verified that all of the
                                   authorization requests have
                ?o                 come from the same computer
                21                 ID."
                22
                         200.       Casablanca licensed the Prodim Evidence: Glenn Johnson, Ex. A.
                23                  software, including vectorcam
                24                  to generate HOP files, for a
                                    one-time fee.
                25

                26       201.       Casablanca   can     generate Evidence: Glenn Johnson, Ex. A.
                                    infinite HOP files usin the
                27 I
                       {o2taoosl.~ocx}                           36
                ?S I       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
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                1                vectorcam software linked to
                                 their CNC machines for no
                                 additional cost.
               3
                       202.      On March 16, 2017, Plaintiff Evidence: Jensen Decl., Ex. T.
               4
                                 sent e-mail correspondence to
               5                 CadCode stating that Plaintiff's
                ~~               "server issues" have not been
                                 resolved and requesting that
                                 CadCode make the issue a high
                                 priority "so we can get back up
                                 and running."

               to      203.      Casablanca generated HOP Evidence: Vilfer Decl., ¶ 19, Ex. J.
               11                files March 13, 14, 15, 16, and
                                 17, 2017.
        12
  0
  0
  ,N
   ~    13             204.       Between December 30, 2014 Evidence: Vilfer Decl., ¶ 19, Ex. I.
H ~~~o                            and     January     1,    2019,
o ~°~~M 14
U ° c; ,~                         Casablanca frequently did not
~ ~U~o N,
~ ¢ o~~ 15                        generate HOP files for days at a
w ~.~~,~
~ ~ ~~'~ 16
                                  time, especially over weekends.
.     c E" w
ae 'c c~
t
  ~ ~'
  0            17      205.       E-mail correspondence from Evidence: Krzeminski Decl., Ex. 56
  M

               ~s                 CadCode states that service to ("please note that your support will
                                  Plaintiff will terminate as of expire on 1/30/16").
               19
                                  February 1, 2016.
               ?o
               21
                       206.       Casablanca produced HOP files Evidence: Vilfer Declaration, ¶ 21, Ex.
                                  on February 1, 2, 3, and K.
               22                 February 4, 2016.
               23
                       207.       In December 2, 2016, e-mail Evidence: Exhibit 23 to the Krzeminski
               24
                                  correspondence         CadCode Declaration HDMI 278.
               25                 informed HighMark that, "[a]s
               2~~                for the discrepancies, we're not
                                  sure there reall are an ."
               ~~
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               ~g
                         DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                         FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                            SUMMARY JUDGMENT
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           1
                Plaintiffls Complaint Is Time-Barred Because Plaintiff On Inquiry Notice In
           2    2011 When Four Seasons Continued Using One-CutTM Beyond The Term of
           3                               The Master Agreement
           4
                244.     Defendant Four Seasons Evidence: Krzeminski Decl., Ex. 44
           5             Windows,      Inc.  ("Four
           6             Seasons") licensed    door
                         software (i.e., One-CutT"')
           7             from Plaintiff under a
           8             December 2008 "Master
                         Agreement."
           9

                245.      The initial term of the Master Evidence: Krzeminski Decl., Ex. 44;
           11
                          Agreement was December 12, Jensen Decl., Ex. F at 25:12 — 18.
                          2008 to December 31, 2010.
           12
 0
 0
  N ~,  13      246.      The Master Agreement could Evidence: Krzeminski Decl., Ex. 44 at
H ~~~o
  ~~~~~                   be renewed for additional two Section 9.1.
H
o ~°~~M 14
~ _¢~;,~                  year terms.
~ ~ o~~ 15
w ~,~~,~
~ ~~~X 16
                247.      Four Seasons and Plaintiff did Evidence: Jensen Decl., Ex. B at 252:4 —
                          not execute an agreement to 253:3; Jensen Decl., Ex. F at 25:12 —
 ~ `~
 0         t~             renew the Master Agreement 27:7.
 M

           18             beyond December 31, 2010.
           19
                248.      Four Seasons continued to use   Evidence: Jensen Decl., Ex. F at 23:18 —
           20             One-CutT"'              until   24:3, 27:2 — 27:12, 96:6 — 96:13;
                          approximately      November     Declaration of Glenn Johnson ("Glenn
           2t
                          2011.                           Johnson Dec."), Ex. B.
           22
           23
                249.      The     Master    Agreement Evidence: Krzeminski Decl., Ex. 44 at
           24
                          provided that Four Seasons Section 9.3.
           25             should return or destroy the
                          Licensed        Applications,
           26
                          Documentation,             or
           27
                 ,00gt.nocx}                              38
           ~~    DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                 FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                    SUMMARY JUDGMENT
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                            Confidential Information in its
                            possession      upon       the
             2              termination of the Master
             3              Agreement.
             4
                   250.     The             Confidentiality Evidence: Krzeminski Decl., Ex. 44 at
             5              Agreement attached to the p. 15 Section 4,"Return of Information."
             6              Master Agreement as Exhibit
                            E     provides     that   upon
             7              Plaintiff's   request,    Four
             s              Seasons shall either return all
                            written materials containing
             q
                            the confidential information or
             to             destroy such materials and
             11
                            certify to Plaintiff that such
                            destruction has occurred.
             12
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             28     DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                    FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                       SUMMARY JUDGMENT
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                                            #:5574


            1     Plaintiffs Complaint Is Time-Barred Because Suspected Plaintiff Improper
                                  Use Of Its Technology No Later Than 2012

            3     251.       Casablanca entered into an Evidence: Glenn Johnson Decl., Ex. A.
                             agreement to license door
            4
                             software from Prodim in
            5                October 2011.
            ~~
                  252.       Plaintiff knew Dairl and Glenn Evidence: Jensen Decl., Ex. B at 250:18
            7                Johnson, of Casablanca, had — 252:3; Jensen Decl., Ex. A at 125:12 —
            8                transitioned   to    competing 18.
                             software from Prodim no later
            9
                             than early 2012.
            10
            11    253.       Michael McElroy ("McElroy"), Evidence: Jensen Decl., Ex. A at 125:12
                             the President of Plaintiff at the — 18.
            12               time, was "mad" and "upset."
  0
  0
  N~ ~   13
H'~~~~
H v~~,~o          254.       McElroy knew the Johnsons Evidence: Jensen Decl., Ex. A at 1 19:6
o ~°~~M 14
v ~ ¢o~~                     from prior to the founding of — 121:9.
~ ~o~~
~'~   O~ Oi 15               Plaintiff in January 2007
w ~~~.~
~ ~~ ~ X 16
                             because the Johnsons had been
a 'c ~~'w                    franchisees of another door
  ~ `~
  0         17               company owned by McElroy,
  M

            1s               IRDC Franchising, Inc.
            19
                  255.       In "heavy negotiations," the Evidence: Jensen Decl., Ex. A at 89:12
            20               Johnsons had bought out their — 90:2.
                             franchise, which did not leave
            21
                             McElroy and the Johnsons "on
            22               good terms."
            23
                  256.       The      relationship between Evidence: Jensen Decl., Ex. A at 118:19
            24
                             McElroy and the Johnsons was — 24.
            25               "fairly fractured."
            26
                   257.       McElro did not trust Dairl and Evidence: Jensen Decl., Ex. A at 163:11
            27
                 {o2iaoos ~.Docx}                           40
            ~g
                     DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                     FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                        SUMMARY JUDGMENT
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                             Glenn Johnson and questioned — 164:9.
                             the legitimacy of their business
                             dealings.
            3
                  258.       McElroy felt that the Johnsons Evidence: Jensen Decl., Ex. A at 165:19
            4
                             did not operate their business — 169:4.
            5                in an "honest" manner, whether
                             that meant the way they paid
                             their bills, treated customers, or
                             how they resolved issues and
            8                problems.
            9
                  259.      When         the       Johnsons Evidence: Jensen Decl., Ex. A at 125:19
            10              transitioned     to     Prodim — 126:16.
            11              software,     McElroy       was
                            concerned                 about
            12              "infringement"      and      the
 0
 0
  Ny ~      13              Johnsons using information
                            belonging to Plaintiff"that they
o ~~~~ 14
v ❑ ¢~ ~                    weren't allowed to have."
~ ¢ o~~
w ~~o~o.
~ ~ ~-'~ 16
                  260.       McElroy considered Prodim Evidence: Jensen Decl., Ex. A at 128:9
a 'c ;F"w                    competitor that posed athreat — 130:2.
 ~ ~'
 0          17               to Plaintiff's business because
  M

            18               Prodim offered competing
                             software.
            19

            20    261.       Prodim was downplaying the Evidence: Jensen Decl., Ex. A at 128:9
                             importance      of Plaintiff's — 23; 135:21 — 136:12.
            21
                             software by "advertising the
            22               fact that, you know, who needs
            23               HighMark when we can do it."
            24                            was    concerned Evidence: Jensen Decl., Ex. A at 135:5
                   262.      McElroy
            25               Prodim was using ideas and — 135:20.
                             technology    developed    by
            26
                             Plaintiff to benefit Prodim's
            27
                 {o2laoos ~.Docx}                          41
            28       DEFENDANTS'SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                     FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                        SUMMARY JUDGMENT
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             1               business.

             2     263.      A former employee of Plaintiff, Evidence: Jensen Decl., Ex. A at 132:1 1
             3               Richard Reardon, had abruptly — 134:21.
                             left his employment with
             4
                             Plaintiff and went to work for
             5               Prodim; when McElroy learned
             6               of this, he was "upset" and
                             "surprised."
             7

             8     264.       McElroy and Winter met and Evidence: Jensen Decl., Ex. B at 250:18
                              reviewed the terms of the — 251:11.
             9
                              Master Agreement after Four
             to               Seasons stopped using One-
                                 TM,
                              CUt
             Il

             12    265.       McElroy did not know what Evidence: Jensen Decl., Ex. A at 125:12
 0
  N
  ~~         13               the Johnsons were doing with — 127:12.
F-iv~v
F    °°
      i000                    information     belonging   to
o ~~~M 14
U ° Qo;~                      Plaintiff, if anything, but he
~~ U~a
~ ~ o~~ IS                    was concerned and believed
w ~~o,c
o •= ~~~ 16
                              there to be "a need for
                              protection."
  ~ ~'
  0          17
  M

             18    266.       1VIcElroy     and       Winter Evidence: Jensen Decl., Ex. B at 253:14
                              considered litigation against — 254:4; Jensen Decl., Ex. A at 127:22 —
             19
                              Dairl and Glenn Johnson in or 128:3.
             20               around the beginning of 2012.
             21
                   267.       Plaintiff filed its Complaint on Evidence: Doc. 1.
             22               July 13, 2018.
             23

             24

             25

             26

             27
                  {02140081.DOCX}                            42
             2g       DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                      FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
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              Plaintiffs Complaint is Time-Barred Because Plaintiff Did Not Reasonably
                                    Investigate Its Alleged Claims

        3     268.     The     Master      Agreement Evidence: Krzeminski Decl., Ex. 44 at
                       provided that Four Seasons Section 9.3.
        4
                       should return or destroy the
        5              Licensed          Applications,
                       Documentation,               or
        6
                       Confidential Information in its
         7             possession      upon        the
         8             termination of the Master
                       Agreement.
        9
        l0    269.     The Confidentiality Agreement Evidence: Krzeminski Decl., Ex. 44 at
                       attached    to    the    Master p. 15 Section 4,"Return ofInformation."
        11
                       Agreement as Exhibit E
        12             provides that upon Plaintiff's
 0
 N
 ~~     13             request, Four Seasons shall
o ~~~ M 14             either return all written
F ~~'~~                              containing    the
   ¢~~                 materials
~¢' o~~ 15             confidential information or
w ~~~,~
                       destroy such materials and
                       certify to Plaintiff that such
 ~~
 0      17             destruction has occurred.
 M

         •

             270.      Plaintiff did not request that    Evidence: Jensen Decl.,, Ex. F at 102:12
        19                                               — 103:13; Declaration of Dave Winter
                       Four Seasons return all
        20             materials            containing   ("Winter Decl.") at ¶ 4; Jensen Decl., Ex.
                       confidential information or       Cat 212:18 — 217:18.
        21
                       destroy such materials and
        22             certify to Plaintiff that such
        23             destruction occurred.

        24   271.      Between 2012 and at least Evidence: Jensen Decl., Ex. C at 212:18
        25             January 1, 2015, Plaintiff did — 217:18; Jensen Decl., Ex. A at 127:22
                       not       conduct       further — 128:3; Winter Decl. at ¶ 4.
        26
                       investi ation into whether the
        27
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               DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
               FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                  SUMMARY JUDGMENT
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                                             #:5578


               1                Johnsons or Prodim had or was
                                misusing technology belonging
               2                or relating to Plaintiff.
               3

               4

               5                                          Respectfully Submitted,
               6
                     ~ Dated: January 28, 2020            PORTER SCOTT
                                                          A PROFESSIONAL CORPORATION
                g
                ~~                                        By          /s/Martin N. Jensen
                                                                     Martin N. Jensen
               ~o                                                    Jeffrey A. Nordlander
                                                                     Attorneys for Defendants
               1l

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               2g        DEFENDANTS' SEPARATE STATEMENT OF ADDITIONAL MATERIAL
                         FACTS IN OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                            SUMMARY JUDGMENT
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                                             #:5579


                  CASE NAME: Highmark Digital, Inc. a Casablanca Design Centers, Inc. et a~
             1
                  CASE NO.:  USDC Central District, Western Division Case No. 2:18-cv-06105-SJO-AS
             2
                                                             PROOF OF SERVICE
             3
                         At the time of service, I was over 18 years of age and not a party to this action. My
             4
                  business address is 350 University Avenue, Suite 200, Sacramento, California 95825.
             5           On January 28, 2020, I served the following document:

             6
                   DEFENDANTS'STATEMENT OF ADDITIONAL MATERIAL FACTS IN
             7        OPPOSITION TO HIGHMARK DIGITAL,INC.'S MOTION FOR
                                     SUMMARY JUDGMENT

             q      XX      Bl' MAIL: I placed the envelope for collection and mailing, following our ordinary business practices.
                            1 am readily familiar with this business' practice for collecting and processing correspondence for
             lO             mailing. On the same day that correspondence is placed for collection and mailing, it is deposited in the
                            ordinary course of business with the United States Postal Service, in a sealed envelope with postage fully
             11             prepaid.
                            BY PERSONAL SERVICE: I caused such document to be personally delivered to the persons)
             12             addressed below. (1) For a party represented by an attorney, delivery was made to the attorney or at the
  0
  0                         attorney's office by leaving the documents, in an envelope or package clearly labeled to identify the
  N~ ~,      13             attorney being served, with a receptionist or an individual in charge of the office, between the hours of
F~ 'a ~                     nine in the morning and five in the evening. (2)For a party, delivery was made to the party or by leaving
E,v~ ~noo~
o ~°~~M 14                  the documents at the party's residence with some person not younger than 18 years of age between the
U ~¢c;r                     hours ofei ht in the mornin and six in the evenin .
~'~      ~o 15
      O~ °~
~ ¢ o ~o                    BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or package provided by an
W ~+~~o~                    overnight delivery carrier and addressed to the persons) listed below. I placed the envelope or package
~ .~      Q 16              for collection and overnight delivery at my office or a regularly utilized drop box of the overnight
                            delive carrier.
  ~~
  0          17             BY FAX TRANSMISSION: Based on an agreement of the parties to accept service by fax
  M                         transmission, I faxed the documents to the persons at the fax numbers listed below. No error was
             ~O             reported by the fax machine that I used. A copy of the record of the fax transmission, which I printed
                            out, is attached
             19     ~       BY ELECTRONIC SERVICE: Based on a court order or an agreement of the parties to accept service
                            by electronic transmission, I caused the documents to be sent to the persons at the electronic notification
             20             address listed below. (COURTESY COPY PER AGREEMENT OF COUNSEL)

             21
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             25    ///

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             2g
                                                            PROOF OF SERVICE
              Case 2:18-cv-06105-SJO-AS Document 163-2 Filed 01/28/20 Page 46 of 46 Page ID
                                                 #:5580


                             Addressed as follows:
                    1

                   2         COUNSEL FOR PLAINTIFF:
                             Michael Friedland
                    3        Thomas P. Krzeminski
                             Cassie Gourash
                    4
                             Benjamin Ho
                    5        KNOBBE, MARTENS,OLSON &BEAR,LLP
                             2040 Main Street, 14th Floor
                    6        Irvine, CA 92614
                    7        Michael.friedlandna.knobbe.com: 2tnknu.knobbe.com:
                             Cassie.Gourash(a~knobbe.com; Benjamin.Ho(c~knobbe.com

                                   I declare under penalty of perjury under the 1       f the State of California that the
                    9       foregoing is true and correct. Executed at Sacramento,   fo    on January 28, 2020.
                   10

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                                                              PROOF OF SERVICE
